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 Report of the College Working Group on
         Diversity and Inclusion




Harvard University
November 2015



                                                                    United States District Court
                                                                     District of Massachusetts

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                                                 Introduction
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The Mission of Harvard College
Harvard College is committed to a broad-based liberal arts education. A quality, well-
rounded education combines the best of the philosophical and rhetorical traditions.
The philosophical tradition, with its emphasis on inquiry and developing critical skills,
cultivates ways of thinking that can expand knowledge through research and analysis.
The rhetorical tradition complements the philosophical by fostering an understanding
of the past and present through literature, art, music, history, religion, and ethics. As a
leading research as well as teaching university, Harvard derives its mission from our
motto, Veritas, literally “truth.” Harvard is committed to expanding both knowledge and
ways of knowing; students not only explore subject areas and acquire fresh insights
into them but also learn about the ways in which they are part of larger human
communities of interest and interdependence and how their membership in these
communities aﬀects how it is that they “know.”

Thus, Harvard College aims to provide an education that nurtures the whole person
while fostering the development of civic-minded, socially engaged, creative, and
critical thinkers in an increasingly interconnected world. Of particular relevance to this
report, Harvard fosters the ability to see the world through the eyes of others. That
ability will position Harvard graduates to serve the broader society in many fields of
human endeavor.

Harvard cultivates these abilities in its classrooms and residential environments. The
classroom exposes students to innovative perspectives as well as to both new and
traditional ways of knowing and understanding. Diverse living environments situate
students among peers and elders studying in diﬀerent fields, who come from diﬀerent
walks and stages of life, and whose developing identities interact with others. This sort
of character formation, nurtured by Harvard’s heterogeneous campus environment and
pedagogical emphasis on intellectual cross-pollination, is intended to inform the
choices and habits Harvard graduates will carry into their respective spheres of
influence. Therefore, Harvard embraces, and must constantly reaﬃrm, the notion that a
richly diverse student body is essential to its pedagogical objectives and institutional
mission.

Harvard College is neither a finishing school nor a luxury good for America’s elites. Its
primary work does not end with the admissions process but, rather, begins the moment
its students enter its gates.




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Historical Context
A pledge to diversity can be traced to Harvard’s founding. The charter of the President
and Fellows of Harvard College, authorized by Governor Thomas Dudley in 1650,
describes the purpose of the institution as “the education of the English and Indian
[male] youth of this country.” Harvard established its Indian College, where five
American Indians received their education, in 1655. This reveals that Harvard’s earliest
commitments were informed by a belief in the transformative power of education, even
as this education was premised upon what we now recognize as cultural bias regarding
who and what was “civilized.”

As such an educational paradox shows, Harvard College’s aspirations have always run
ahead of its realities, for both cultural and structural reasons. Culturally, Harvard
College has always been limited by the context and ruling beliefs of its society, even as
it has continually tried to push and challenge itself and the world. Thus Harvard’s Indian
College pedagogy reflected an almost universal European belief in cultural hierarchy, as
well as prejudicial notions to the eﬀect that knowledge was to be transmitted to Indian
students rather than produced in dialogic exchange. Meanwhile, despite the existence
and aims of the Indian College, Harvard remained, for three centuries, committed
primarily to educating the sons of New England’s elite. Although Radcliﬀe College
traces its origins to 1879, women did not gain full access to Harvard until nearly a
century later. Under the presidency of Abbott Lawrence Lowell (1909–1933), the
Harvard administration restricted the numbers of Jewish students and barred the
handful of African American men at the College from residing in freshman dormitories.
(Painter 1971) Sexual minorities, in the meantime—whatever their racial or class origins
—were deemed unfit to be members of the Harvard College community: in the 1920s,
students believed to have same-sex attraction were tried in secret courts and expelled
from the College.

Harvard law professor Randall Kennedy best summarizes the history of Harvard’s
relationship with students of color when he writes, in Blacks and the Race Question at
Harvard, “Harvard, too, has been indelibly scarred by slavery, exclusion, segregation,
and other forms of racist oppression.” The University enrolled few students of color
before the 1970s, and even those as talented and ultimately accomplished as Clement
Morgan, W.E.B. Du Bois, Alain Locke, William Monroe Trotter, Countee Cullen, and Eva
Dykes (among others) experienced isolation and marginalization. As Du Bois described
his time at Harvard, he was “in it, but not of it.” And it was not until 346 years after Joel
Iacoome and Caleb Cheeshahteaumuck completed their studies at the Indian College
that another Wampanoag, Tiﬀany Smalley, graduated from Harvard College, in 2011.




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Just as Harvard’s culture has been closely linked to its societal context, so have its
structural inequities. Both survey findings and personal accounts suggest that a gender
gap deters potential female math concentrators at Harvard, even as women, and
especially women of color, are underrepresented in STEM fields nationally. (Kim 2015)
Today’s wealth gap in the United States is the widest in three decades, and most
wealth gains since the Great Recession of 2007 – 2009 have gone to upper-income
families. (Fry 2014) As Harvard University’s Robert Putnam argues in Our Kids: The
American Dream in Crisis, wealth inequality hardens social divisions by diminishing
opportunities for youth to interact across social lines. Such inequality also concentrates
educational resources and cultural capital.

Harvard College is now committed to cutting against the grain of both structural and
cultural sources of inequality. In an amicus curiae brief submitted when the Supreme
Court addressed aﬃrmative action in the 1978 case Regents of the University of
California v. Bakke, Harvard argued that, “A primary value of the liberal education
should be exposure to new and provocative points of view, at a time in the student’s
life when he or she has recently left home and is eager for new intellectual
experiences.” In a subsequent aﬃrmative action case, Grutter v. Bollinger (2003),
Harvard made a similar argument:

      Diversity helps students confront perspectives other than their own and
      thus to think more rigorously and imaginatively; it helps students learn to
      relate better to people from diﬀerent backgrounds; it helps students to
      become better citizens. The educational benefits of student diversity
      include the discovery that there is a broad range of viewpoints and
      experiences within any given minority community—as well as learning
      that certain imagined diﬀerences at times turn out to be only skin deep.

Underscoring its commitment to diversity that includes both racial and socio-economic
background, Harvard, in 2004, launched one of the most generous financial aid
initiatives in the nation. Students from households earning less than $65,000 per year
pay nothing toward room and board, and students from households earning $65,000 to
$150,000 pay ten percent or less of their yearly incomes. Around seventy percent of
Harvard students receive financial assistance and over twenty percent pay no tuition at
all. Capacious admission standards that take a range of life experiences and fluid
identities into consideration, coupled with generous financial aid plans, enable Harvard
College to expand opportunity for a widening cross section of students. This is
essential for creating the conditions in which Harvard students can learn to be at home
in an increasingly interconnected world.



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The Charge of the Working Group on Diversity and Inclusion
Mindful of the mission and aspirations described above, the Working Group on
Diversity and Inclusion, in consultation with the Oﬃce of the Dean of the College,
drafted a charge in May of 2014. The Working Group was to “assess Harvard College’s
learning environment in order to ensure that all students benefit equally from its liberal
arts educational and service mission.” The task included consulting with stakeholders
across the University, incorporating research at the intersections of race, ethnicity,
socioeconomic status, and other frames of identity and diﬀerence, and examining
approaches at peer institutions in order to recommend models that might be applied or
reimagined on Harvard’s campus.


                                        Findings

Evaluation of Diversity-Related Practices at Peer Institutions
Members of the Working Group visited Ivy League campuses between September and
December 2014. We met with student leaders and administrators at Brown, Columbia,
Princeton, University of Pennsylvania, and Yale, and with administrators at Cornell and
Dartmouth. Our goals were to assess pre-orientation programs, mentoring, mental
health programs, administrative structures, bias reporting procedures, residential
support, multicultural spaces, curricular oﬀerings, and special initiatives. Our findings in
these areas provide much food for thought:

Pre-Orientation
Pre-orientation programs tend to function in one of three ways, with some overlap.
They provide academic support and advising (Penn’s Pre-Freshman Program); instill
cultural capital through campus orientation, fostering relationships with faculty, and
raising awareness about campus resources for promoting social and academic
success (Yale’s Cultural Connections); or develop cultural competency (Brown’s Third
World Transition Program).

The experiences of these schools show why pre-orientation programs are vital to the
success of all students. They provide a shared institutional vocabulary and robust
engagement with issues of diversity and cultures of inclusion. They also enable
attention to the needs of underrepresented students, especially those who are first
generation and socio-economically disadvantaged, while fostering community for the
entire population across lines of diﬀerence.




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Mentoring and Mental Health Programs
The peer institutions consulted vary in how they promote student mentoring and
address issues of mental health, but they share a commitment to sustained attention to
students’ academic, social, physical, and mental wellbeing. Examples of relevant
programming and support include:

      •   Diversity Dialogues (Dartmouth);
      •   Peer mentoring programs (Brown’s Women in Science and Engineering);
      •   Leadership and skill development (Penn’s Intercultural Leadership Program);
      •   Integrated academic and mental health advising (Dartmouth’s sociocultural
          advising via cultural support groups; the partnership between Brown’s Center
          for Students of Color and its Counseling and Psychological Services).

Athletics and military aﬀairs often provide models for these initiatives. Time demands
associated with their sport and NCAA regulations create considerable challenges, and
Ivy schools have developed an eﬀective system of assistance from coaches, faculty
mentors, and peer advisers. Similarly, institutions such as Columbia and Brown staﬀ
veterans aﬀairs oﬃces, since military students are disproportionately from
underrepresented groups or are nontraditional, and often have distinctive financial
plans and mental health concerns. Harvard could benefit from analyzing how
addressing the particular needs of such students encourages success without showing
partiality or being perceived as alienating or stigmatizing.

It must also be noted that current trends reveal serious institutional challenges to
addressing student mental health in underserved populations. The reasons are many,
but include:

      • lack of staﬀ diversity and perceived diﬃculty among underrepresented
        groups in relating to staﬀ;
      • limited professional experience with underserved populations;
      • culturally-based stigmas regarding mental health treatment, most significantly
        in Asian, Latino, African American, and international communities.

It is clear that the programs having the best impacts make clinical support available to
students throughout the campus in non-intimidating ways. Such support addresses
particular cultural needs, and associated stigmas, even in the absence of staﬀ who
share students’ backgrounds and identities. When mental health providers review
research and design outreach eﬀorts specific to populations that typically stigmatize
mental health services and/or have distinct fears and phobias associated with
behavioral health, their treatment eﬀorts are more eﬀective, regardless of a caregiver’s
racial/ethnic background.

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Administrative Structure
We identified three administrative models that address the concerns and tensions
associated with a diverse campus environment. They are not mutually exclusive but do
entail distinct centers of power and governance.

First, some campuses have a comprehensive oﬃce of diversity, typically led by a vice
president or vice provost who reports to the president. The oﬃce oversees a variety of
smaller oﬃces including, but not limited to, disability services, LGBTQ life, military and
veterans, and religious life. Brown University’s Oﬃce of Institutional Diversity and
Dartmouth College’s Oﬃce of Institutional Diversity and Equity typify this model.

Second, some campuses embrace an umbrella model of multiple resource centers
within a larger administrative entity, typically the Dean of Students or Oﬃce of Student
Life. The resource centers have considerable autonomy, as they are often responsible
for programming with little structural oversight. Cornell’s Center for Intercultural
Dialogue and University of Pennsylvania’s Oﬃce of Equity and Access Programs are
examples. Within the larger organizational structure, both fall under student life oﬃces:
the Oﬃce of the Dean of Students and the Division of the Vice Provost for University
Life, respectively. Both house smaller entities such as the LGBTQ Center, Women’s
Center, Pan-Asian American Community House, Black Cultural Center, and La Casa
Latina.

Third, on some campuses, autonomous cultural centers run their own programs. They
are run by a director (often an assistant dean) and include paid student counselors and
peer liaisons. Cultural centers house student organizations and host parties, art
exhibits, lectures, and conferences. Often they work collaboratively while seeking to
foster cultural identity and solidarity in engagement with the full campus. Peer liaisons
are upperclassmen aﬃliated with each center who help to connect freshmen to
resources of the institution, thereby formalizing the mentoring that often takes place
among aﬃnity groups. For example, Yale freshmen can identify a student mentor in the
Afro-American, Asian American, La Casa Latina, or Native American cultural centers, or
in the oﬃces of LGBTQ Resources, International Students and Scholars, or Chaplain.

Comprehensive Oﬃces               Umbrella Model with
     of Diversity                  Multiple Resource             Autonomous Cultural
   Brown University                     Centers                        Centers
  Dartmouth College                Columbia University              Yale University
      Princeton                     Cornell University
                                         UPenn




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Our findings here support a key conclusion in the research on diversity in higher
education, and one with implications for administrative structures and procedures:
fostering diverse cultures of inclusion is a multidimensional eﬀort that exists in, and
makes demands on, many divisions of a university. (Smith 2009) Thus structural
accountability, robust communication among oﬃces and diﬀuse leadership, and face-
to-face engagement with students are essential to facilitating a healthy environment.

Robust interoﬃce communication and structural accountability prevent diversity work
from taking place within a campus vacuum or through reliance on a single person or
entity, models that compound problems by exempting critical administrative oﬃces
from shared responsibility. Moreover, given that students seldom know what kind of
support they should seek out, let alone what is available or where resources are most
easily accessed, hyperlinked websites and resources manuals cannot supplant
ongoing student engagement by dedicated campus professionals.

Bias Reporting
We sought to answer four questions with regard to students’ ability to report perceived
discrimination, bias, insult, and injury: Who receives the report? Who responds? When
specific procedures exist, how do students learn about these procedures? What is the
intended outcome of the process?

We found that bias reporting varies across the Ivy League. Most campuses have an
online form, yet complaints are handled by diﬀerent entities. Cornell University, for
instance, has an oﬃcer in the Department of Inclusion and Workforce Diversity and
bias reporting liaisons in each department and entity on campus to respond to bias
complaints. This process appears to be driven mainly by Human Resources and
addresses the concerns of university staﬀ members. Dartmouth College, in contrast,
has a Bias Incident Response Team, run through the Collis Center for Student
Involvement, that discusses and adjudicates all bias-related matters. This team seems
proactive and pedagogical rather than reactive and punitive. As its statement of
purpose says: “The Achieving Community Together Program – Bias Incident Response
Team advances the ‘Principles of Community.’ We work together to raise awareness,
create educational and restorative opportunities for growth and responsibility and
provide support across our community when incidents of bias are reported.”

Similarly, Columbia University has a clearly articulated “Bias and Discrimination
Response Protocol” in the Oﬃce of Undergraduate Student Life, as well as a
Discrimination/Bias Response team comprised of members from across various arenas
of student life. After Public Safety files and documents a report, the response team
decides on the best means of support based on the nature of the incident, the


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student’s desire for confidentiality, and/or whether the occurrence targeted an
individual or a group. Support may range from a campus judicial process to the Oﬃce
of Undergraduate Student Life providing town halls and other community dialogue
forums.

Well publicized and understood bias reporting procedures create a culture of safety
and contribute to an inclusive community of candor regarding acts of discrimination
and bias. Not only do students know where to go and what support to expect when
specific micro- or macro-aggressions occur; a transparent bias reporting system can
inform generative community conversations. It can also foster a campus culture that
disapproves of behaviors, whether active or passive, motivated by hostility or willful
indiﬀerence to others’ vulnerabilities in the areas of race, religion, sexual orientation,
ethnicity, national origin, gender identity and expression, age, ability, or intersections of
the above.

Residential Support
All of our peer institutions share a commitment to ensuring that residential life supports
broad-based cultures of learning where students with multiple, and often divergent,
needs can feel safe and supported. Each also provides residential mentoring and
advising opportunities. Yet the approaches vary. Broadly speaking, residential
communities in the Ivy League are divided between campuses that provide a
randomized college or house system and those that oﬀer special interest or aﬃnity
housing options.

The college/house system is central to student life and to the fostering of community
across diﬀerence. In the Ivy League, the number of residential colleges or houses
ranges from a half a dozen to around a dozen on each campus, and some models
separate freshmen and upperclassmen. Apart from roommates or a limited suite or
blocking group, students are randomly assigned to colleges or houses in order to
foster heterogeneous environments where students live, study, and dine together
across socially constructed categories. The college/house system model is co-
curricular insofar as living with and among a diverse group of students is part of the
educational process.

Typically, colleges/houses have a faculty master, dean, director of academic advisers,
and director of social life. In every case, academic advising takes place through the
residence for at least one year. Resident tutors, academic advisers, resident scholars,
and peer counselors, who are often field-specific, perform multiple roles as curricular
and co-curricular advisers.




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In contrast to colleges/houses, special interest or aﬃnity communities allow students
with shared interests to reside in a common living environment. The shared interest is
essential to the purpose and functioning of the residence insofar as the particular
theme of the residence or floor informs student programming and establishes patterns
and rules that guide behavior. Special interest houses include foreign language, STEM,
social justice and activism, and spaces where most programs and events are based on
the history and culture of a particular group of people. All have a broader vision of
preparing residents to be global citizens.

Diman House at Brown University is a special interest house of note. As the Social
Action Program house on campus, it is the hub for social activism. Students appeal to
their respective fields of study to strategize and organize eﬀective methods for positive
social change on the campus, as well as to address pressing social needs through
working with organizations such as the Food Recovery Network or contributing to relief
eﬀorts for natural disasters such as Hurricane Sandy.

The W.E.B. Du Bois House at University of Pennsylvania is an example of an aﬃnity
house. It is an African American theme-based house that celebrates the history and
culture of people of the African Diaspora. Du Bois House is the most racially diverse
house on Penn’s campus—not, according to some students, despite its theme, but
because of its forty-year history of championing racial diversity and equality. Du Bois
House has earned the nickname “the U.N. at UPenn.”

Both types of residential space signify the values of the community. Residential
programming, mentoring, co-curricular activities, and staﬀ/peer composition must
convey the institution’s commitment to cultures of inclusion and appreciation of
diversity. This is particularly true in college/house systems that are randomized, lest the
historical and cultural defaults of the institution prevail.

                                College/House System
                                   Cornell University
                                 Princeton University
                                     Yale University

                             Special Interest Communities
                                         Brown
                                       Columbia
                                       Dartmouth
                                         UPenn




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Multicultural Spaces
Many multicultural spaces and themed houses developed in response to student
protests in the late 1960s and the 1970s. Yale approved its Afro-American Cultural
Center in 1969; Princeton and Brown universities opened their Third World Centers in
1971 and 1976, respectively. Several campuses have renamed their centers over the
past decade to signal their reconsideration of these centers’ purpose and function.
Examples include Princeton’s Third World Center becoming the Carl Fields Center for
Equality and Cultural Understanding in 2008, and Brown’s Third World Center
becoming the Brown Center for Students of Color in 2014. Yale’s cultural centers are
currently under review

This rebranding trend raises several interrelated questions. Are such entities cultural
resource centers for students of color, or programming oﬃces tasked with engaging
the entire student body? More generally, what is the primary constituency for
multicultural spaces, and what roles do they play in relation to the larger university? Are
these spaces co-curricular extensions that promote multicultural engagement across
all lines of diﬀerence, or social spaces for minoritized students insulated from the
prevailing mores of campus life?

Our peer institutions answer these questions diﬀerently. The mission of Dartmouth
College’s Oﬃce of Pluralism and Leadership is to “advance. . . Dartmouth’s
commitment to academic success, diversity, inclusion, and wellness by engaging all
students in the development of identity, community, and leadership.” The director and
assistant deans of this oﬃce are advisers for racial/ethnic aﬃnity groups such as the
Pan-Asian student group. Columbia’s Intercultural Resource Center (IRC) is similar.
Originally the United Minorities Board, the IRC now targets all students on campus
through educational forums and diversity discussions and trainings. The IRC
understands its primary goal as “the creation of a just campus community, one which
celebrates diﬀerences and rejoices in collaboration.” Dartmouth’s Oﬃce of Pluralism
and Leadership similarly reaches broadly across socially constructed categories to
promote the value and virtue of diversity and inclusive cultures.

Individual cultural centers at the University of Pennsylvania, conversely, target
minoritized communities. The Greenfield Intercultural Center seeks to enhance
intercultural knowledge, competency, and leadership through targeted advising and
advocacy on behalf of specific groups. It also supports Native American students and
Arab, Turkish, and other international students. Makuu: The Black Cultural Center, La
Casa Latina – Center for Hispanic Excellence, and the Pan-Asian American Community
House (PAACH) provide resources that promote racial/ethnic solidarity among
particular subsets of students. In short, while all centers and oﬃces share a


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commitment to conversations regarding diversity and educational programming, they
diﬀer in approach.

Our Working Group finds that cultural centers can have a positive impact on their
institutions. As campus focal points that foster community, they represent an
institutional commitment to a diverse environment while holding the larger campus
accountable to its professed aims. As critical sites for activism, advocacy, and
mobilization that help to forge alliances based on moral aﬃnity, they are proof against
the concern that cultural spaces fragment and further marginalize minoritized students.

Cultural centers can also serve as safe, even therapeutic spaces for underrepresented
students; students often refer to them as “home away from home” and “one of the few
safe spaces on campus.” By providing a distinctive aesthetics of physical space and a
community of faculty, staﬀ, and students with which students can readily identify, such
centers can counter the implicitly exclusionary messages of the larger campus
environment that may be sent through campus artwork, prevailing cultural norms, and
the burdens of being “the one” visible minority in a class.

In our visits to other campuses, we also identified some concerns about cultural
centers. One is physical location: when cultural centers are removed from the campus
core, they send a message to minoritized and other students that diversity is peripheral
to the university community’s areas of focus. Students at the University of
Pennsylvania and Princeton University expressed such concerns about the Greenfield
Intercultural Center and the Carl Fields Center, respectively. In contrast, students utilize
fully the three cultural centers at the University of Pennsylvania located in the central
ARCH building (La Casa Latina, Makuu, and PAACH). Since ARCH also houses a
popular student cafe, classrooms, and multi-use auditoriums, students of all racial and
ethnic backgrounds appear to have more contact and comfort accessing the resources
and attending the programs of these centers.

Limited or disengaged staﬀs are a second concern. The more robust and active
cultural centers are animated by dedicated staﬀ members who play varied and
valuable roles ranging from organizing events, advising and advocating for students,
and identifying resources, to preserving institutional memory across otherwise transient
student populations. In the absence of dedicated staﬀ, these duties fall upon the
shoulders of undergraduates. During the course of our work, for instance, students and
alumni of Yale University began circulating a petition to remove the director of their
Afro-Cultural Center. According to the petition, “The Afro-American Cultural Center is
no longer fulfilling its historic mission of serving as a cultural, social, and academic




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space for Black students. The apathy and disengagement of the Center Director...is at
the center of the issues we face.” (Stannard 2015)

Curricular Oﬀerings
Every Ivy League institution has a department, program, or center dedicated to
disciplinary oﬀerings in cultural, ethnic, and gender studies. These entities oﬀer
students at least the chance to earn a certificate, and some provide the option to major
in a particular curricular oﬀering or confer degrees through standalone departments or
committees outside of the department, program, or center itself. Uniquely, the
University of Pennsylvania makes a course in diversity part of its general education
requirement.

We found no institutional requirements for faculty and administrators to demonstrate
competency in cultural diversity and sensitivity around matters of inclusion. Nor is there
much support in Ivy League schools for requiring a course for students that engages
concepts of diversity.

Special Institutional Initiatives
Each campus has initiated a new diversity eﬀort within the past five years. Some are in
response to particular events, such as when former New York City Police
Commissioner Raymond Kelly was shouted down and prevented from lecturing at
Brown University. Other schools are reassessing diversity eﬀorts from previous
generations, as is the case at Yale. Cornell, Dartmouth, and Princeton have each
developed strategic plans and have presidentially-appointed task forces with the goal
of moving the campus forward in a coordinated eﬀort. Such initiatives include reforms
of academic pipelines that result in departmental homogeneity, campuswide climate
assessments, and faculty recruitment and retention initiatives for women and other
underrepresented groups.

Experiences of Diversity and Inclusion: Input from Students, Tutors, Proctors, and
House Masters

The Working Group held conversations with a wide range of students in order to
receive their perception of, and experiences with, matters of identity and diﬀerence in
the College. We understand that many factors can shape a person’s worldview and
experience, including but not only race, citizenship, gender identity, sexual orientation,
disability, religion, and socioeconomic status. Harvard students may also identify (or be
identified with) multiple minoritized groups. Therefore, in order to cast our
conversational net widely, the Working Group populated focus groups with students
from a range of co-curricular groups, both those that the College recognizes and those


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that are oﬃcially unrecognized: for example, race/ethnicity aﬃnity groups, student
religious organizations, varsity sports teams, the Undergraduate Council, the Institute
of Politics, finals clubs, and Greek societies.

Working Group members attended mandatory proctor and tutor training sessions on
January 21–22, 2015 to discuss diversity matters. We wanted to hear about proctors’
and tutors’ challenges and opportunities in fostering inclusive and aﬃrming
environments. Insights from these sessions informed questions for focus groups held
within the houses. We concluded these conversations at the housemasters’ monthly
meeting in April, at which we sought views on diversity in the houses and solicited
assistance in interpreting students’ responses.

Three topics recurred in these conversations: ongoing, multi-generational
conversations about diversity; the climate of learning in departments, concentrations
and classrooms; and balance in residential life experiences. We consider each topic in
turn.

The Need for Intentional, Ongoing Conversations
The proctors and house tutors generally agreed that more frequent and formal
conversations are needed around issues of campus diversity. All agree that every
proctor and tutor must assume responsibility for helping students through sometimes
diﬃcult, yet rewarding, conversations concerning identity and diﬀerence. The “race
relations” tutor designation, for instance, places an undue burden on the few while
exempting the majority; few were happy with this model. Nevertheless, several
proctors and tutors expressed reservations about their own competencies. Many
regard the diversity training received at orientation as inadequate, and their vocabulary
as too limited for sustained dialogue with students in light of inevitable questions and
conflicts throughout the year.

Similarly, many encouraged more diversity training opportunities for students. As one
tutor noted, “student training is important . . . [incoming students] are becoming a new
part of this community. We ought to give them the tools.” A proctor observed,
“Students want to be led, yet are constantly being asked what they think. They realize
that they are 18 and not experts. They don’t know basic facts and want to learn more. .
. . In our rush to reassure them that they are future leaders, we are not leading by
example.” There is a general sense that students care deeply about these issues and
want to engage, but fear they will come across as inelegant in expression. This
hesitancy causes many so-called majority students to opt out, which only reinscribes
diversity matters as essentially belonging to the minoritized members of the



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community. Thus, the language of “mandatory” and “required” were recurring
recommendations from the community.

Community Conversations provide an example. This one-time event is a facilitator-led
discussion based on shared readings among freshmen at the outset of the academic
year. The Oﬃce of Institutional Research found in 2011–12 that nearly seventy percent
of freshmen students agreed (some “strongly”) that Community Conversations helped
them to appreciate the diversity of the Harvard community. (Pierce 2015) Nevertheless,
several participants in Working Group conversations expressed concern about the
program’s implementation and follow-up. The conversation takes place prior to the
rigors of college life that challenge students’ conceptions of themselves and
perceptions of others; perhaps Community Conversations take place too early for
students to apply their insights to daily experiences at Harvard. Thus most participants
in Working Group meetings recommended robust administrative follow-up and
sustained dialogue throughout a student’s academic career. We concur: Community
Conversations may be a cornerstone for developing the deliberate dialogue needed for
productive learning across lines of diﬀerence.

More generally, many proctors, tutors, and undergraduates feel that diversity training
and ongoing conversations about diﬀerence must not remain at the student level. Staﬀ,
faculty, and teaching fellows must also learn how to become more sensitive to
students from a wide array of backgrounds and more cognizant of classroom
dynamics. All focus group respondents pointed to micro-agressions in the classroom
that come from peers, teaching fellows, and faculty members. Many feel that teaching
fellows and professors are ill-equipped to facilitate conversations deemed
controversial, thus avoiding such subjects or saying simply, “let’s move on” when
questionable or oﬀensive comments arise.

Bias in Concentrations
Proctors, tutors, and students described some departments as less welcoming to
specific groups than others. The STEM fields were of notable concern to women and
underrepresented minorities. Our findings suggest implicit and unintentional biases that
shape requirements for departmental concentrations such as AP courses in high
school, replication of students and faculty in areas and identities in select fields,
access to mentors, and study group formations. These dynamics create and codify
arbitrary notions of “rigor,” “fit,” and “excellence.”

For instance, pipelines specific to each discipline replicate homogeneity as one
advances from an undergraduate to a full professor. Graduate admissions, TF hiring,
junior faculty appointments, and tenure promotions all create and reinforce


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departmental cultures. Such dynamics contribute to a belief that certain fields privilege
particular approaches and areas of interest and deem other scholarly pursuits to be
incompatible or “less rigorous." Unless departments are intentional, and self-critical, in
promoting a diverse culture, there is little chance of attaining a more diverse student
body and set of opinions or research agendas.

Women and underrepresented minorities also told the Working Group about the
absence of mentors and sponsors to whom they can comfortably relate. This is a direct
reflection of the paucity of women and people of color in certain fields, especially
among graduate students. Others spoke bluntly about their diﬃculties in fields such as
math, statistics, biomedical engineering, and in the social sciences. Female
upperclassmen in particular concentrations may dissuade incoming freshmen from
pursuing concentrations perceived as hostile due to “no recognition within the
department that this [gender bias] is an issue.”1 In short, explicit and implicit messages
of “you won’t do well” lead to a disproportionate number of students opting out of
certain concentrations.2 As the research literature on stereotype threat shows, when
students are unable to overcome implicit harmful messages and regard departments as
disinclined to disrupt practices deemed exclusionary, avoidance and disengagement
are common responses. (Aronson 2002)

In discussions about bias in concentrations, students also raised concerns about lack
of faculty diversity, curricular exclusion of underrepresented groups in introductory
courses, and the restrictions administrators impose on course oﬀerings from other
departments that students argue should count for concentration credit.

Diﬀerences in the availability of AP courses at various high schools lead to a diﬀerent
kind of unintended exclusion. Harvard is committed to granting admission to high-
achieving students who take advantage of all possibilities available to them, as
opposed to students who simply attend the most elite high schools. This is correct and
appropriate. Nevertheless, several departments, particularly those in the STEM fields,
assume that students will have taken advanced placement courses—at least this

1 One respondent suggested that she is torn about giving such advice since she understands that it will discourage

or even prevent other women from entering the concentration, but that the responsibility should be put on the
department to change.

2A female student told us during a focus group conversation that she went to discuss with her TF how she could do

better in biomedical engineering and was told “you won’t do well” because of other activities that she was involved
in on campus. She expressed her frustration about having “someone tell me point blank that I won’t do well, and,
‘We know you’re a busy person—it won’t be an insult if you leave the concentration’" and concluded, "So, fine. I
left.” Social Studies concentrators voiced frustration that courses dealing with racial justice/politics oﬀered by
faculty members on the Committee have not counted for credit in the concentration.


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perception is prevalent. AP oﬀerings are very uneven across secondary schools. The
Working Group believes that all students admitted to Harvard College should have the
opportunity to concentrate in any field of their choice without being precluded due to
structural disadvantages. Students can succeed from diﬀerent curricular entry points,
so it is incumbent on each department, as well as the University, to provide students
with alternative narratives of success and multiple pathways to fulfilling all
departmental requirements.

Residential Life Experiences
The house and resident tutor model plays a powerful co-curricular role at Harvard
College. Harvard’s decision, in the spring of 1996, to randomize the house selection
system to create more diverse environments in the houses followed President Lowell’s
rationale in creating the house system in the first place: in Lowell’s words, “men
interested in various fields of thought should be thrown together with a view of
promoting a broad and humane culture.” The houses were viewed as natural co-
curricular extensions of the Harvard College learning experience. In describing
randomization, then Dean Harry Lewis noted, “A certain level of discomfort is part of
our educational obligation.”

While this may be the ideal, students we talked to reported levels and kinds of
discomfort not always in keeping with the professed goals of the house system.
Repeatedly, students named, or voiced the desire to experience, their houses as “safe
spaces.” Yet they also consistently pointed to the lack of diversity among resident
tutors within the house system, and housemasters have expressed the same concern.3
Since most resident tutors are graduate students and the positions are field-specific,
the homogeneity of the tutor pool is directly related to the lack of racial and gender
diversity in particular departments at Harvard. Resident tutors and scholars can be
mentors and sponsors, so the lack of diversity in their ranks can work to the real
detriment of underrepresented students.

Students and tutors also voiced concerns about perceived inequities and imbalances
among houses. Only some houses have diverse resident tutor pools, resident scholars,
prestigious named prizes and financial awards for juniors and seniors, and availability
of, and access to, house social spaces for student groups. Budgets for student
programming around particular events also vary among houses, as housemasters


3 One housemaster expressed what appeared to be the sentiment of many when he declared, There are just not

many diverse candidates out there. We have the same problem in my department.But another housemaster
pushed back forcefully: They are out there. They may not show up at your door, but we do not have a problem
identifying a diverse corps of tutors. We go and look for them.


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allocate the funds in their houses’ budgets. Overall, students sense that house life
depends on the particular housemasters and established house traditions, which
invariably leads to inconsistency across the College. Thus the College might want to
consider stronger systems of transparency and accountability among the houses to
address real or perceived inequality. Areas of particular note, besides the ones listed
above, include transparency regarding the system of evaluation for housemasters.

The judgments expressed above are based on anecdotal rather than systematically
gathered evidence, and many housemasters disagreed with them. Some housemasters
perceive inherited cultures that inform each individual house, while others resisted any
suggestion that they shape the culture of the house. Nonetheless, students express an
assumption that diversity and inclusion eﬀorts begin and end with housemasters.

The appointment and role of tutors seems especially charged in the context of
housemasters’ impact. The process of appointing resident tutors and scholars is
informal and thus lacks transparency, which leads to mistrust in its integrity. For
instance, some resident tutors levied a serious charge of discrimination against one set
of housemasters. (Delwiche 2015) Many resident tutors of color voiced frustration that
they were burdened with all conflicts stemming from matters of identity and diﬀerence,
while other tutors could seemingly focus on their academic areas. Other tutors of color
expressed surprise and dismay that housemasters had designated them as race
relations tutors without their knowledge or consent. These complaints were common
among the specialty tutors. One reported that certain housemasters asked him to join
the community primarily as an LGBTQ as well as a pre-med tutor. He alleges that when
he resisted, saying that he did not consider himself qualified to be an LGBTQ tutor, the
housemasters said, “All the other tutors are married. It’s very simple. All you have to do
is send some emails every now and then.”

On a diﬀerent note, both resident tutors and students pointed to markers of class
distinction in life on campus. Programs created to remove financial barriers for
students who qualify for financial aid may have unintended stigmatizing consequences.
Consider the Student Events Fund (SEF). This program has the admirable aim of
aﬀording students the chance to attend up to five campus events each semester at no
cost. Yet several students (and, at a diﬀerent point, alumni) noted how separate lines
for SEF ticket pickups marked students to their wealthier classmates; one resident
tutor remembered jokes about the “welfare line” or the “poor kids line” during his
undergraduate days.

Others had similar feelings about the pre-orientation and school year community detail
program known as dorm crew. Several expressed appreciation for the ability to earn a


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good wage, as dorm crew is the highest-paying job of any open enrollment option.
Dorm crew also provides a very flexible schedule. But other factors have caused dorm
crew to be regarded as a program of “incentivized servitude,” since many students of
humble means feel that they cannot aﬀord to decline the option. This is particularly the
case when undergraduates are not respectful of spaces that others are assigned to
clean. Some also reported that their school meal plan was not yet activated when they
arrived for pre-orientation dorm crew, leading students, according to reports, to walk to
the Central Square McDonalds to avoid the higher costs of Harvard Square
restaurants. One young man captured the choices and frustrations of students who
otherwise appreciate the dorm crew option:

      I knew Harvard had a meal plan and I knew that I had it. When I found out
      that I didn't qualify until the start of the school year instead of during my
      pre-orientation program, I was a little disheartened. We had the option to
      eat in Annenberg, but to me, 20-something dollars is a lot of money to
      spend on food in one day, and then to have to spend that each day for a
      week . . . I couldn't do that. I chose dorm crew as a pre-orientation
      program to make money, not spend it. I needed money. I could have
      chosen a diﬀerent pre-orientation program like FAP (Freshman Arts
      Program) and my financial aid would have covered it, but I needed
      money. I needed to buy books and not worry as much about spending
      too much during the school year, surrounded by friends with varying
      wealth. Annenberg was asking for about two hours’ pay of my eight-hour
      day. I ended up just buying bagels and Pop Tarts. I ate out a few times. I
      had some Dunkin Donuts gift cards so I ate there too. I wouldn't call it
      healthy eating. I know it wasn't only me who struggled that week. Some
      people decided to just eat out every day, while others decided to eat very
      little. I believe most of the people involved in Fall Clean-Up could really
      use the money and it would be beneficial if Harvard could provide meals
      for the workers (even the bagged lunches they make during the year
      would be amazing).

Finally, students pointed out that all diversity-focused centers (i.e. the Women’s Center,
the Oﬃce of BLGTQ Life, and the Harvard Foundation for Intercultural and Race
Relations) are underground. That these spaces are, in the words of one student, “out of




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sight and seem inaccessible” sends a message to students about how much the
College values diversity initiatives.4

Curricular Oﬀerings at Harvard College
The Working Group reviewed current course oﬀerings at Harvard to identify those that
address issues of diversity in a critical and intentional way. We searched for courses
indexed with a wide variety of terms: ethnic, ethnicity, race, gender, sexual orientation,
inequality, disability, diversity, diverse, social class, socio-economic status, poor,
poverty, first generation, African-American, African American, Black, White, Caucasian,
Asian, Asian-American, Latino, Latina, Hispanic, Native, Native American, Indigenous,
Indigeneity, and Indian.

From the resulting long list, we identified courses that address critically the relation of
the course’s primary subject matter to categories of diﬀerence and relations of power.
Courses that solely engage a particular community commonly considered as
underrepresented were not included in the list of diversity oﬀerings. To confirm our
choices, the subcommittee emailed the instructor(s) of each selected course to report
that the course was included on the list, and to ask the instructor to advise us if this
designation was incorrect. We received no requests to remove a course from the list for
definitional or philosophical reasons.

The summary charts provide a snapshot of the courses addressing diversity in the
Harvard curriculum. Although the numbers are necessarily rough, they provide an
overview that can help us to evaluate our current oﬀerings as part of a broad
investigation of diversity at Harvard.5 We also include a count of courses in each
departmental listing in order to show the proportion of diversity courses in the full set
of a given department’s courses.6

Administrative Entities Concerned with Supporting the Needs of a Diverse
Student Body


4 We note, however, that despite its physical location, the Womens Center feels warm and welcoming to many

students, both women and men. The nontraditional layout and design enabled many to view it as equally cozy and
empowering.

5 We provide a separate listing of courses touching on diversity oﬀered across the Harvard Schools outside of FAS

in Appendices B, C, and D. We attempted to confirm, but cannot guarantee, that all courses listed here are indeed
open to undergraduates. Beyond this list, we cannot draw additional conclusions without more detailed knowledge
of the courses.

6 In assessing General Education courses, we counted only courses in the front of the book.



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With regard to co-curricular entities in support of diversity, the Working Group found a
somewhat inchoate structure. Eﬀorts to respond to the many needs and demands of
Harvard students have produced many diﬀerent initiatives that simply cannot be
represented coherently in an organizational chart. Adding major administrative oﬃces
tasked with matters of campus diversity makes accounting for the institutional
structure even more complicated.

We identified relevant oﬃces and programs with two sets of keywords. The first
focused on function: academic advising; alumni groups; assault and harassment;
athletics; diversity; employee resource groups; faith-based services; faculty; financial
services; gender; healthcare, mental health, and disability; international students;
public service; race and culture; sexuality; standing committees; student life; and
summer research programs and fellowships. The second step identified diversity-
related oﬃces and programs with the same keywords used to identify relevant courses.

In general, Harvard has taken an umbrella approach to campus diversity, with multiple
resource centers falling under several administrative oﬃces. This model seems to be
an outgrowth of what was once a comprehensive oﬃce of diversity. Over four decades,
several umbrellas have developed independently. Now a plethora of programs and
centers complement, overlap, and compete with one another. They are:

Oﬃce of the Assistant to the President for Institutional Diversity and Equity
Director: Chief Diversity Oﬃcer and Special Assistant to the President
Reporting Line: Executive Vice President and the President
Key Responsibilities: federal and state compliance concerning protected employment
categories: i.e., race, disability, veterans, sexual orientation, and gender identity.

The Oﬃce was established in 1971 to “lead a sustained University-wide eﬀort and to
develop, coordinate, and advance inclusive excellence, diversity, and equal opportunity
initiatives, programs, and policies at Harvard University.” It specializes in University
compliance and promoting staﬀ diversity initiatives through training and innovative
recruitment eﬀorts. The Harvard University Administrative Fellowship Program is its
signature initiative. The Fellows Program provides twelve-month opportunities to
members of underrepresented groups to receive leadership training and exposure at
Harvard; the goal is to encourage the mentoring of such individuals in preparation for
careers in administration in higher education.

Oﬃce for Faculty Development and Diversity
Director: Senior Vice Provost for Faculty Development and Diversity
Reporting Line: Provost


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Key Responsibilities: faculty development, work-life balance, maintaining data on
faculty hiring practices, promotion, and retention among women and underrepresented
minorities.

The Oﬃce was established in 2005, when women were underrepresented on every
faculty at Harvard other than the Graduate School of Education. It has instituted
programs to improve the quality of faculty life and assist faculty in developing the skills
needed for professional success. The oﬃce encourages mentoring, both formal and
informal, to introduce junior scholars to the requirements for success. By providing
generous maternity/paternity leaves, financial assistance to oﬀset childcare costs,
panels to discuss academic publishing, and brown bag lunch conversations that
address a wide-range of issues in an informal setting, the Oﬃce also aims to provide
junior faculty members with resources that foster professional growth and
development.

The Working Group is uncertain whether the Oﬃce of Faculty Development and
Diversity assesses institutional culture and practices that may unwittingly aﬀect the
development of minoritized faculty or undermine their scholarly contributions. Such an
assessment would require gathering information regarding assumptions that inform the
practices of departments, and focusing on how those assumptions might help or
hinder particular areas of scholarship.

The Harvard Foundation for Intercultural and Race Relations
Director: Center Director and Assistant Director of the Center
Reporting Line: The Director reports to the Dean of the College; the Assistant Director
reports to the Oﬃce of Student Life
Key Responsibilities: portraiture project, intercultural understanding intern program,
race-relations advisers/tutors in the houses, and large campus/community events such
as Cultural Rhythms, the Science Conference, the Humanitarian Award, and the Aloian
Awards.

The Foundation was established in 1981 in order to “improve relations among racial
and ethnic groups within the University and to enhance the quality of our common life.”
The Foundation grew out of a faculty/student committee commissioned by President
Derek Bok and chaired by the late Reverend Peter Gomes to identify ways the
University might improve racial understanding and relations in Harvard’s increasingly
diverse community. Out of fear of isolating minority students, the committee’s report
(the Gomes Report) advised against independent cultural centers and theme-based
houses or spaces based on racial/ethnic identities. Thus, Harvard established the




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Foundation as an agency to serve the needs of minority students while, according to
Foundation documents, “integrating them into the College and University as a whole.”

Most Foundation programming takes place in the houses. The Harvard Foundation has
emerged as an umbrella organization for cultural organizations and aﬃnity groups on
campus. Its Student Advisory Committee (SAC) includes up to eighty representatives
from racial/ethnic aﬃnity groups on campus. The SAC distributes $25,000 from the
Harvard Foundation student grants program to subsidize student-initiated programs
and student organizations. In 2005, the House race relations tutors were brought under
the purview of the Harvard Foundation. Harvard College Dean Benedict Gross
concluded after a review of the system that the race relations tutors were not well
organized or eﬀective under the direction of the housemasters. The Foundation also
organizes the annual race relations tutor orientation sessions.

The Working Group lacked the time and resources to review the eﬀectiveness of the
Harvard Foundation. Some members raised concerns about the theoretical framework
informing the Harvard Foundation’s founding and continuing mission, based on more
recent research arguing that the umbrella model insuﬃciently acknowledges the
particular experiences faced by minoritized students across potentially shifting
categories of identity. That is, the theoretical framework undergirding the Gomes
Report was based on three assumptions: a) contact among diverse groups equally
benefits members of both majority and minoritized groups; b) group-specific spaces
isolate minority students; and c) the integrative model of diversity disrupts
homogeneous communities and supports full inclusion of minoritized students. In the
view of the Working Group, most (though not all) recent social scientific research
shows each of these assumptions to be flawed.

First, it is true that an increased number of minorities benefits the numerical majority,
as it increases the likelihood of intergroup contact among the latter. Yet it also benefits
numerical minorities by providing underrepresented communities a critical mass for
intragroup support. With regard to the benefits of contact: research shows that the
eﬀects of stereotype threat and other negative characterizations are reduced when
those who are negatively stereotyped in a given context have the chance to gather
together. Peer advising from women in the STEM fields, for instance, can reduce the
negative associations that may lead women to disengage from certain concentrations.
Similarly, when Latinx students hear alternative narratives of success from other
Latinxes, the cultural cues that narrowly define success on campus (e.g., having no
Latinx professors on the faculty, seeing images only of white men in the departmental
building, the absence of curricular materials that speak to the histories and
experiences of Latinxes) are mitigated.


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With regard to concerns about further isolation of minority students versus the benefits
of disrupting homogeneous groups of majority students: the assumption that culturally
specific spaces or aﬃnity-themed housing will isolate minoritized students is a fallacy
of false equivalence, because it suggests that these students are able to exercise the
same freedoms (including freedom of association) in the larger society as do members
of the majority. This is not the case. Providing a safe space for women to come
together within a larger context where their humanity is measured against a masculinist
standard is not gender discrimination akin to that exercised by an all-male finals club.
To the contrary, it can enable women to deal with intellectual, emotional, and social
challenges.

Moreover, it is easier for members of a majority to remain siloed within homogeneous
communities than it is for members of a minority. The latter inevitably associate with
members of the dominant group due to the demographic composition of the campus.
For instance, white students can complete their coursework at Harvard without ever
having a Latinx, Native American, or African American professor, TF, coach,
housemaster, resident dean, entryway proctor, tutor, or academic adviser. This is not
true for Latinx, Native American, or African American students who, to the contrary,
must seek out opportunities for engagement with representatives of their own racial/
ethnic group. Thus, members of small groups must carry the burden of diversity at all
times, while members of more privileged groups must search out courses, faculty
members, and mentors from minoritized groups. In short, the umbrella model of
integration, as implemented at Harvard, treats minoritized and majority students in
unequal ways despite its best intentions.

The problematic assumptions of the umbrella model have led to unintended
consequences. Harvard College was not able to eﬀectively integrate diversity
programming into the Harvard House structure as recommended by the Gomes
Report. As a result, full responsibility was returned to the Harvard Foundation. An oﬃce
with little more than two full-time staﬀ members and a current programming budget of
$25,000 was responsible, at least in theory, for all cultural programs, concerns, and
educational initiatives of Harvard College’s non-white student population.

Other Positions
Position: Assistant Dean of Diversity Relations and Communication
Reporting Line: VP of Administration (FAS) and dotted line to Oﬃce of the Assistant to
the President for Institutional Diversity and Equity




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Key Responsibilities: supports all communication eﬀorts for the Harvard Foundation;
tasked with creating a coherent picture of diversity for all aﬃliated groups and
organizations.

Position: Assistant Dean of Student Life for Equity, Diversity, and Inclusion
Reporting Line: Oﬃce of Student Life
Key Responsibilities: responsible for campus initiatives regarding gender, sexuality, and
diversity issues; oversees the Harvard College Women’s Center, Oﬃce of BGLTQ
Student Life, Undocumented Students Working Group, First Generation College
Students Working Group, Racial Harassment Hearing Oﬃcer for the College.

There are two other positions of note: the Assistant Dean of Diversity Relations and
Communication and the Assistant Dean of Student Life for Equity, Diversity, and
Inclusion. FAS Dean Michael Smith created the position of Assistant Dean of Diversity
Relations and Communication in 2008. This person is a member of the FAS Advisory
Committee on Diversity and is tasked with creating a coherent picture of all diversity
eﬀorts and initiatives at the College, which include those under the Harvard
Foundation, Oﬃce of Student Life, and the Oﬃce of the Assistant to the President for
Institutional Diversity and Equity.

The Oﬃce of Student Life created the Assistant Dean of Student Life for Equity,
Diversity, and Inclusion in Fall 2014. Though having the support of the Oﬃce of Student
Life, this assistant dean has oversight of two centers (Women’s Center and Oﬃce of
BGLTQ Student Life) that appear to be larger than the actual oﬃce of the assistant
dean in terms of staﬀ and resources.

                        Summary of Recommendations

The Working Group on Diversity and Inclusion would like to begin this section by
thanking University oﬃcials for actions already taken based on interim
recommendations made during 2014–15. The Oﬃce of Student Life published the
Working Group’s listing of courses related to equity, diversity, and inclusion. The Oﬃce
of the Dean of the College funded a pilot program to keep two dining halls open
through spring break. The latter initiative oﬀsets the food costs incurred by students
who, for a range of reasons, do not leave campus for the week. (It also, serendipitously,
gave Working Group members an additional, informal point of contact with members of
the student body with whom our work was concerned, i.e., international students and/
or students lacking the financial resources to travel.) The Oﬃce of Financial Aid issued




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new guidelines concerning SEF tickets, protecting students’ anonymity by forbidding
ticket lines marked as “SEF.”7

The Working Group would also like to reaﬃrm our charge and connect it to similar
eﬀorts taking place throughout the University to change the institution’s culture. Such
eﬀorts include the University Task Force on the Prevention of Sexual Assault and the
Working Group on First Generation Students, both of which are addressing challenges
of distinct populations and aﬃrming their inherent dignity and value to the University.

We oﬀer two types of recommendations. First, we make recommendations for
immediate action addressing three aspects of the College: student life, teaching and
learning, and administrative structures. These targeted interventions can support the
College’s mission and enhance its culture. Second, the Working Group has identified
questions and areas of concern that exceed our charge and capacity. We are
persuaded that creating a healthy, diverse environment requires the coordinated eﬀort
of all departments, schools, administrative oﬃces, and allies across the University. We
categorize the long-term interventions we recommend to bring about such a
coordinated eﬀort with the same rubrics that we use for our immediate
recommendations, although action on the former will require large amounts of time,
research, and resources. We urge the constitution of a new committee charged by the
Oﬃce of the President and engaged over more than one academic year.

                        Recommendations for Immediate Action

Student Life
Harvard College has a responsibility to promote a shared vocabulary among students
around identity and diﬀerence, and to shift the optics of the campus from one that
privileges particular histories and cultures to one that celebrates the diversity of the
student body. Tutors, proctors, and students alike have requested communication
across lines of diﬀerence aimed at empathy, as well as guidance on how to create a
framework for debate and shared vocabulary.

What is more, the ambience of physical spaces transmits cultural cues that influence
the participation of underrepresented groups on college campuses. Physical
environments serve as signifiers communicating who does or does not belong. Recent
research reveals, however, that changing objects in a classroom such, as images on


7Nevertheless, controversy occurred over separate lines at the quad formal in May 2015. This tells us that the Oﬃce

of Financial Aid, Oﬃce of Student Life, and Harvard Box Oﬃce must remain diligent to ensure that all campus
entities are aware of and adhere to this new policy.


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the walls, from those that are conventionally associated with the dominant group to
objects that minoritized subjects can better relate to is enough to boost participation
by the latter. (Cheryan 2009)8 The University has made strides in this area in recent
years. The portraiture project of the Harvard Foundation for Intercultural and Race
Relations comes to mind. This is important work. The Working Group believes that the
College must further diversify and update the styles, periods, and mediums of its
publically displayed artwork to better reflect the diversity of the campus community.

The Working Group recommends that the College take on the following tasks:

    1. Request that each house and freshman dean design and implement a cohesive
       series of co-curricular activities that address the challenges and benefits
       associated with learning and living in a diverse residential community. The plan
       should include primary coordinators, strategies for sustainability, and evaluation.
       Programming should be based on a collective commitment and use a variety of
       approaches. It might include not just term-time activities but also special winter
       session or spring break excursions, retreats, or conferences that could oﬀer
       more intense and/or more experiential opportunities for learning and personal
       transformation.

    2. Establish the “Alain L. Locke ’07 AB, ’17 PhD Committee on the Arts” to
       commemorate the centennial anniversary of Locke earning his PhD at Harvard in
       1917. The Committee should be tasked with reviewing the art and décor of
       common spaces and classrooms at the College, and developing
       recommendations and implementation proposals for common space design and
       redesign, to create a physical environment in which all members of the
       community can feel they belong and secure Harvard’s role as a leading curator
       of significant artistic achievements in a wide array of traditions. This committee
       would collaborate with departments to ensure that they make eﬀorts to make
       their principal learning spaces feel inclusive, especially for groups that have
       historically been discouraged from, or underrepresented in, their disciplines. In
       collaboration with the Harvard Art Museums, this committee would also
       commission and curate art exhibitions, installations, and performances that


8Research reveals not only that changing the objects in a classroom to ones to which minoritized students can

better relate improves the participation of minority students but also that this has no negative impact on the
dominant group. For example, non-computer science-related images on the walls helped women to feel safer and
promoted their participation in an otherwise underrepresented field. Yet the change in artwork had no impact on
male participation. By simply creating what authors describe as ambient belongingfor underrepresented groups,
they are able to diversify the space without losing any original participants. This is a low cost, win-win
recommendation.


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      cultivate a more inclusive atmosphere. Finally, the Working Group can imagine
      this committee working with the student population to:

          a. encourage judged “art challenges,” modeled on the iLab competitions, to
             encourage Harvard students and alumni to engage with diversity through
             artistic creation, with projects exhibited in common spaces in the College;
          b. fund collaborative art projects and initiatives between student groups that
             have diversity and inclusion as a central theme, with an eye toward house
             renewal and other campus renovation eﬀorts.

   3. Design cultural competency training for all College student-facing staﬀ—
      including personnel in the Oﬃce of Student Life, OCS, FDO, Ad Board, Honor
      Council, etc.—through a collaborative process with students, faculty and
      teaching staﬀ, and administrative staﬀ.

   4. Address unnecessary markers of social distinction to uphold the dignity of all
      students. Doing away with special SEF lines is a critical first step, and one that
      the College must enforce vigorously. Next steps must include reforms to dorm
      crew. The Working Group recommends that students during the academic year
      be penalized if bathroom cleanliness drops below a reasonable threshold. This
      threshold should be established in consultation with Facilities Maintenance
      Operations and building managers. This will allow students who work dorm crew
      to have a right of extreme refusal in extreme conditions, which they can
      document with photos from their cellphones. We also recommend that students
      who serve on pre-orientation or post-graduation dorm crew be provided with
      meals or a daily per diem distributed in advance.

Teaching and Learning
Harvard College desires that all students have equal access to and opportunity to
succeed in all concentrations. The Working Group understands that departmental
practices both inform students’ choices and reinforce cultures that can contribute to
homogeneous pipelines within select fields. These sorts of cultures limit the number of
mentors and sponsors to whom underrepresented students may feel comfortable
relating, curtail departmental courses whose primary subject matter critically addresses
the categories of diﬀerence and power, and reduce the prospect of students engaging
with themes of human identity and diversity in the classroom.




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What is more, according to our findings, five FAS departments or programs oﬀer the
bulk of all courses addressing diversity and diﬀerence.9 The majority of the
departments/programs emphasizing diversity are in the social sciences, with the
humanities and sciences much less well represented. And when measured against the
number of courses being oﬀered in FAS (roughly 5,500), the list of 217 courses that,
according to our estimate, critically engage with issues of identity and diﬀerence is
somewhat lean. The Working Group believes that Harvard’s commitment to a broad-
based liberal arts education would be better served by having a more robust
curriculum in this area through increased attention to diversity and diﬀerence in the
humanities and science departments. The Working Group suggests that the College:

      1. Task directors of undergraduate studies in every department with developing
         pathways through the concentrations that would be attainable for all students,
         regardless of background. The Working Group understands that high-achieving
         students from Level 3 or 4 high schools may not have had the same course
         options available to them as a middling student from an elite prep school. This
         should not preclude students from Level 3 or 4 schools being able to
         concentrate in a particular field. Every concentration should have clearly
         articulated pathways through the major from the most introductory-level course.

      2. Encourage all departments to undertake programs designed to promote a more
         diverse group of concentrators within their departments. In the absence of a
         comprehensive strategic plan, there are many things departments can do—e.g.,
         create mentoring programs, enhance website materials that share success
         stories of underrepresented minorities, and provide resources for
         underrepresented students to attend/participate in events sponsored by
         organizations such as the National Society of Black Physicists or Society of
         Women Engineers, to enable these students to expand their networks.

      3. Create a system for flagging existing courses dealing with diversity in the new
         online search system for course selection, so that students can easily find them.
         Other Ivy League institutions, such as Yale and Brown, use an online course
         search system that allows students to select a “diverse perspectives” tab that
         automatically generates a list of courses that fit this category. The 217 courses
         identified by the Working Group would be a good starting point. The College
         should create a plan for integrating newly developed courses into the online
         course selection system.


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    The departments/programs are African and African American Studies, Anthropology, General Education,
Sociology, and Studies of Women, Gender, and Sexuality.


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   4. Request that the General Education Committee develop strategies for
      strengthening its oﬀerings in areas explicitly addressing diversity. Measures may
      include actively recruiting faculty to teach courses in particular areas of diversity
      that are not currently covered and inspiring faculty to develop new courses or
      enhance existing courses by providing institutional support; e.g., coordinating
      with the Bok Center to oﬀer research-based resources and faculty programs on
      eﬀective pedagogical strategies to address issues of diversity.



Administrative Structures
Each year the entering freshman class of Harvard College is more racially, ethnically,
and socioeconomically diverse than the year before. This is a positive development of
which the University should be proud. Harvard’s administration, faculty, and staﬀ,
however, continue to lag behind in terms of diversity. This lack of diversity frustrates
Harvard’s eﬀorts to foster a campus environment that diminishes cultural and structural
cues of exclusion, minimizes stereotype threats, and provides students from varying
backgrounds equal opportunities to succeed in concentrations throughout the arts and
sciences. The composition of Harvard’s administration, faculty, and staﬀ must reflect
the positive strides toward diversity made with the student body in recent years. Thus,
the Working Group recommends the College pursue the following immediate actions:

   1. Seek to diversify the Ad Board and the new Honor Council, with an eye to
      ensuring that the people who assess and, in some instances, discipline our
      students come from backgrounds that, as much as possible, are as diverse as
      those of the students themselves. There is a reasonable concern that, for
      instance, without faculty of color or faculty who were first generation students
      themselves on these bodies, we may be missing crucial sets of experiences and
      kinds of knowledge that could lead to fairer judgments and penalties. We
      understand that, in order for Harvard College to achieve fairer representation for
      the student body, underrepresented members of the faculty may have to be
      provided with incentives to assume yet another role. Yet the Working Group is
      confident that immediate action along these lines is necessary and just.

   2. Task Counseling and Mental Health Services with developing and implementing
      a strategic outreach plan for historically underserved populations. As noted
      above, the most eﬀective mental health outreach plans make clinical support
      available to students throughout the campus and address particular cultural
      needs and associated stigmas of targeted groups. Attitudes toward behavioral
      health care vary among Asian American, African American, Latinx, and veteran


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        students, as well as among certain communities of faith. We want to help
        students who identify within or between any underserved populations to have
        access to appropriate interventions in the most useful settings.

    3. Create a University-wide committee charged with studying questions that could
       lead to more long-term recommendations. We will explain this recommendation
       in more detail below.

                  Recommendations for Long-Term Interventions

Student Life
With regard to student life, house life and support for aﬃnity-based student groups are
vital areas for further consideration. The Working Group believes that perceived
inequities among the houses, both real and imagined, must be examined and
addressed. Any perceptions of inequality and lack of accountability compromise the
credibility of the house system. The campus witnessed the result of failed transparency
toward the end of the 2014–15 academic year, as students levied charges of
discrimination against Dunster House.10 We strongly believe that such charges brought
by students are unfortunate for all parties involved. The lack of clear policies, structures
of accountability, and consistency across houses puts everyone at risk and erodes
trust.

The Working Group wants the university to consider increased ways to support aﬃnity-
based student groups on campus, including but not limited to the Harvard-Radcliﬀe
Asian American Association, Harvard-Radcliﬀe Raza, Harvard Black Student
Association, and Harvard Islamic Society. These are critical sites of peer-to-peer
mentoring, academic advising, and spiritual support that often take place informally
and with minimal institutional support. Our review of peer institutions reveals that more
than dedicated physical space, dedicated staﬀ presence is what enables such student
groups to flourish. Whether an assistant dean or center director, dedicated staﬀ
members improve the quality and consistency of events, help to institutionalize
otherwise informal mentoring and advising, and serve as a human point of contact (if
not sponsor) for students trying to navigate the byzantine structures of University life.




10 Unfortunately, the perception of homophobia in Dunster House extends back over a decade and is documented

in opinion pieces published in the Harvard Crimson. (2004). Dunster's Troublesome Closet. The new BGLTS tutors
will likely perform a useful service, but much work remains, Harvard Crimson. Levingston, I. B. (2015). Dunster
Students Push for Tutor's Return, Harvard Crimson.


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Many of the questions that must be asked about the administrative structure of
Harvard’s diversity initiatives relate to our concerns about student life. With specific
respect to house life and student groups, the Working Group desires to know:

       • In what ways might we promote greater consistency in standards and their
         implementation among the houses when it comes to diversity-related
         matters?
       • What role can the houses and freshman deans play in fostering more diverse
         and inclusive environments?
       • What resources might housemasters find valuable in their eﬀorts to recruit,
         appoint, and retain a more diverse pool of resident scholars and tutors?
       • What are current best practices of campus centers such as the Oﬃce of
         BLGTQ Life, Oﬃce of the Chaplaincy, or Freshmen Yard Deans that the
         University might build upon to increase oﬃce visibility and address the needs
         of minoritized students?
       • What is the current state of faculty advising for student groups? What
         incentives are necessary to ensure appropriate training, support, and, most
         importantly, positive recognition of junior faculty members engaged with
         student life during their promotion reviews?

Teaching and Learning
Students desire a faculty as diverse and varied in its interests as is the student body.
As stated in our findings, the University has made great strides toward diversifying the
faculty and improving the faculty climate overall. The Working Group applauds these
eﬀorts. The Working Group is not clear, however, on whether any oﬃce assesses
institutional cultures and/or reviews specific departmental practices that may frustrate
the recruitment and retention of underrepresented faculty. A close review of
departmental practices would interrogate basic assumptions as to the ways particular
disciplines and fields are defined at Harvard University. The Working Group
recommends that the University invest in creating sensitive survey instruments that can
obtain answers to the following questions from the various schools and departments:

       • What approaches to the discipline/field does your school or department
         currently privilege? What are the theoretical, thematic, geographic, or other
         categories of intellectual approaches that preclude a wide range of
         participants from engaging in particular areas of inquiry at Harvard?
       • How does diversity fit into the intellectual development of the field?
       • How do departments and programs decide on and evaluate their standards
         for “excellence”?



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      • How do departments establish intellectual “canons” and/or what constitutes
        survey/introductory material?
      • How can the review of General Education reinforce principles of equity,
        diversity, and inclusion? What are the mechanisms for enforcing this in the
        curriculum?
      • What are the formal and informal sites of networking, advising, mentoring,
        and sponsorship within the department?
      • What are departments and schools across Harvard doing to ensure that all
        faculty members continue to receive training in pedagogical approaches that
        speak to an increasingly diverse demographic at Harvard, and that they are
        cognizant of, and can oﬀset, explicit and implicit biases and micro-
        agressions occurring inside and outside the classroom?
      • What are the types of bridge, supplemental, advising, pre-orientation, and/or
        summer programs that might enable students to navigate particular
        concentrations and foster pathways for success?
      • How does the Graduate School of Arts and Sciences understand its role in
        shaping the culture of teaching and learning at Harvard?

Administrative Structures
Successful diversity initiatives require a strategic plan of action and a coherent
institutional structure that allows for systems of accountability and assessment.
Evidence from both the academic and business spheres points to these truths. A good
strategic plan recognizes that all departments, schools, and allied institutions operate
according to diﬀerent logics and metrics, and thus empowers each to develop an
individualized plan for diversity. A coherent system of integrated oﬃces committed to
diversity eﬀorts ensures that the institution is working toward a common vision with a
shared institutional vocabulary. There has to be an identifiable structure of governance
to hold all parties accountable to their respective strategic plans, and to assess the
value or viability of past initiatives.

Based on our findings, the Working Group believes that it is in Harvard’s best interests
to recommit itself to streamlining its current structure into a much tighter and
integrated set of oﬃces with a greater level of collaboration. This will enable Harvard
University to better fulfill its mission and commitment to excellence through diversity.
The presence of so many oﬃces and programs that work for the cause of diversity and
inclusion, but appear to engage in minimal collaboration, seems both ineﬃcient and
ineﬀective. We suspect that many of these oﬃces and/or positions were created as
sincere responses to specific problems. Yet the current decentralized nature of these
oﬃces, coupled with an initial conceptual intent that may now be out of sync with
shifting demographic and cultural realities, exacerbates fault lines that further threaten


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those who are now the most vulnerable on campus: first generation students, students
from Level 3 and 4 high schools, and undocumented immigrants. Similarly, diversity
initiatives are harder to implement in the absence of robust communication among
oﬃces with common purposes. The Working Group is confident that a more tightly
organized scheme would better serve many constituencies.

Therefore, the Working Group believes that the University must explore such questions
as:
      • Is there a common vision for diversity and inclusion across the University?
         How do varying constituencies across the University define diversity?
      • What primary oﬃce(s) should have oversight of diversity initiatives?
      • Is there consistency across the University with regard to oﬃce(s) and
         positions tasked with promoting diverse cultures of inclusion? Further
         research needs to determine what each oﬃce contributes to the overall
         mission of diversity and inclusion. What are their specific roles and
         responsibilities?
      • Are there common guidelines and principles that exceed federal compliance
         but to which all aﬃliates of the University must adhere? What assessment
         mechanisms are in place to measure eﬀectiveness? How does the current
         administrative structure facilitate reassessment?
      • What systems/metrics are in place to evaluate structural change? Are sunset
         provisions in place for oﬃces/programs that have either fulfilled or failed to
         meet their intended goals?

                                     Conclusion

The Working Group on Diversity and Inclusion oﬀers these findings, recommendations
for immediate action, and recommendations for long-term interventions in hopes for a
more diverse and inclusive future for Harvard. The care, respect and thoughtfulness
demonstrated by members of the Harvard community inspire us. And we are confident
that Harvard has the resources, capacity, and talent to be an innovative world leader in
this area. We therefore oﬀer this report as an ethical challenge and impetus for
institutional action. In this critical moment, Harvard must commit and recommit itself to
the practices that best reflect our institutional mission and ideals.




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